      Case 19-12825 Doc 8 Filed 10/15/19 Entered 10/15/19 16:29:02 Main Document Page 1 of 14
 Fill in this information to identify your case:

 Debtor 1                     Paul Michael McGoey
                              First Name                          Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Daniel Becket Becnel                                                                     Schedule D, line
                4425 W. Airline Hgwy                                                                     Schedule E/F, line         4.80
                Suite B
                                                                                                         Schedule G
                Laplace, LA 70068
                                                                                                       Omer Rick Keubel



    3.2         Legacy Gretna #1 LLC                                                                      Schedule D, line
                900 Camp Street                                                                           Schedule E/F, line        4.19
                #359
                                                                                                         Schedule G
                New Orleans, LA 70130
                                                                                                       Brinks Inc.




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.21
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Carbons Golden Malted



    3.4      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.95
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Reinhart Foodservice, LLC



    3.5      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.34
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Crescent Crown Dist



    3.6      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.41
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         DP1 Design



    3.7      Legacy Gretna #1 LLC                                                           Schedule D, line
             900 Camp Street                                                                Schedule E/F, line 4.43
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Fire & Safety Commodities



    3.8      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.53
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Gulf Coast Blenders



    3.9      Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.68
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Leidenheimers Bread Co.




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.72
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Loop Linen



    3.11     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.75
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Maurices Bakery



    3.12     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.77
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         New Orleans Fish House



    3.13     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.90
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Pro Shine Window Cleaning



    3.14     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.98
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Republic National Distributing Company



    3.15     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.100
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Samson Business Products



    3.16     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.112
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Tyler's Pride Produce




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.17     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.3
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Alarm Protection Services



    3.18     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.27
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Coca Cola Bottling Company



    3.19     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.47
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Glazer's Companies of LA



    3.20     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.78
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         New Orleans Fish House



    3.21     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.84
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         One Pack Hospitality Group, LLC



    3.22     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.81
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         One Pack HG Management, LLC



    3.23     Legacy Gretna #1 LLC                                                          Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.107
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         State Cleaning Solutions




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.24     Legacy Gretna #1 LLC                                                           Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.7
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         All Temp Refrigeration Services



    3.25     Legacy Gretna #1, LLC                                                         Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.23
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Cintas



    3.26     MCG Legacy 2, LLC                                                             Schedule D, line
             425 East 10th Ave.                                                            Schedule E/F, line    4.50
             Covington, LA 70433
                                                                                           Schedule G
                                                                                         Gulf Coast Bank



    3.27     MCG Legacy 2, LLC                                                             Schedule D, line
             425 East 10th Ave.                                                            Schedule E/F, line    4.51
             Covington, LA 70433
                                                                                           Schedule G
                                                                                         Gulf Coast Bank



    3.28     MCG Legacy 2, LLC                                                             Schedule D, line
             425 East 10th Ave.                                                            Schedule E/F, line    4.52
             Covington, LA 70433
                                                                                           Schedule G
                                                                                         Gulf Coast Bank



    3.29     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.4
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Alarm Protection Services



    3.30     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.37
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Custom Apparel



    3.31     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.1
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         A and L Sales



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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:


    3.32     NOCBC Metairie #1, LLC                                                         Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.5
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         All Temp Referigeration Services



    3.33     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.9
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Ambiance Radio



    3.34     NOCBC Metairie #1, LLC                                                         Schedule D, line
             900 Camp Street                                                                Schedule E/F, line   4.18
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Brinks Inc



    3.35     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.22
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Carbons Golden Malted



    3.36     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.32
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Crescent City Candle



    3.37     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.24
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Cintas



    3.38     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.96
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Reinhart Foodservice, LLC




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.39     NOCBC Metairie #1, LLC                                                         Schedule D, line
             900 Camp Street                                                                Schedule E/F, line 4.44
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Fire & Safety Commodities



    3.40     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.54
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Gulf Coast Blenders



    3.41     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.49
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Glazers Companies of LA



    3.42     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.55
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Hamco New Orleans



    3.43     NOCBC Metairie #1, LLC                                                         Schedule D, line
             900 Camp Street                                                                Schedule E/F, line 4.58
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         J and J Exterminating



    3.44     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.67
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Leidenheimer Bread Co.



    3.45     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.73
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Loop Linen




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.46     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.79
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         New Orleans Fish House



    3.47     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.85
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         One Pack Hospitality Group, LLC



    3.48     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.82
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         One Pack HG Management, LLC



    3.49     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.88
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Pontchartrain Systems



    3.50     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.91
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Pro Shine Window Cleaning



    3.51     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.99
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Republic National Distributing Company



    3.52     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.101
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Samson Business Products




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.53     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.113
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Tylers Pride Produce



    3.54     NOCBC Metairie #1, LLC                                                        Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.108
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         State Cleaning Solutions



    3.55     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.71
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Loop Linen



    3.56     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.74
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Louisiana Fresh Produce



    3.57     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.76
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Mockler Beverage Company



    3.58     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.83
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         One Pack Hospitality Group, LLC



    3.59     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.86
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         OPHG Management LLC




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.60     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.89
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Printing Tech of Baton Rouge INc.



    3.61     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.92
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Purveyor of Fine Wines LTd.



    3.62     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.97
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Republic National Distributing Company



    3.63     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.102
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Samson Business Products INc.



    3.64     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.102
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Samson Business Products INc.



    3.65     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.26
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Climate Controlled Self Storage



    3.66     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.26
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Climate Controlled Self Storage




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.67     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.105
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Sherwin Williams



    3.68     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.14
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Baton Rouge Shrimp & Oyster Co.



    3.69     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.109
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Think IT Solutions



    3.70     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.11
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Artisan Wine



    3.71     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.63
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Kleinpeter Farms Dairy



    3.72     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.59
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         J&J Exterminating



    3.73     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line   4.57
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Inland Seafood Corp




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.74     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.48
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Glazers Companies of LA



    3.75     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line 4.17
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Billy Heromans Sherwood



    3.76     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.42
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Entergy



    3.77     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line   4.40
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         Direct TV



    3.78     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.36
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Custom Apparel



    3.79     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line   4.33
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Crescent City Electronics



    3.80     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.35
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Crescent Crown Dist.LLC




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.81     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.94
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Reinhart Foodservice, LLC



    3.82     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.13
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Balloon Mania of La



    3.83     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.30
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Community Coffee



    3.84     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.69
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Level 3 Communications, LLC



    3.85     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.31
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Crescent City Candle



    3.86     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.20
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Capital City Produce



    3.87     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line 4.15
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Baton Rouge Water Company




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 Debtor 1 Paul Michael McGoey                                                       Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.88     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.10
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         American Audio Visual, LLC



    3.89     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.12
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Autochlor Services LLC



    3.90     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line  4.6
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         All Temp Refrigeration Services



    3.91     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.2
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Alarm Protection Services



    3.92     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line    4.46
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         GBP Direct



    3.93     OPHG Baton Rouge #1, LLC                                                      Schedule D, line
             900 Camp Street                                                               Schedule E/F, line  4.104
             #359
                                                                                           Schedule G
             New Orleans, LA 70130
                                                                                         Selective Insurance Co of America



    3.94     OPHG Baton Rouge #1, LLC                                                       Schedule D, line
             900 Camp Street                                                                Schedule E/F, line   4.111
             #359
                                                                                            Schedule G
             New Orleans, LA 70130
                                                                                         TripleSeat Software




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